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              EXHIBIT 3
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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                                     Case 3:16-cv-00940
 DENIS MARC AUDET, MICHAEL                           Hon. Michael P. Shea
 PFEIFFER, and DEAN ALLEN SHINNERS,                  Courtroom 2
 Individually and on Behalf of All Others
 Similarly Situated,                                 ECF Case
                               Plaintiffs,
                                                     CLASS ACTION
        vs.
                                                     May 3, 2019
 STUART A. FRASER, GAW MINERS, LLC,
 and ZENMINER, LLC, (d/b/a ZEN CLOUD),               DECLARATION OF ALLEN SHINNERS
                                                     RE: PLAINTIFFS’ SUPPLEMENTAL
                               Defendants.           BRIEF RE: CLASS MEMBER
                                                     IDENTIFICATION AND DAMAGES


       I, Dean Allen Shinners, declare under penalty of perjury as follows:

       1.      My name is Dean Allen Shinners. I am one of the named plaintiffs in this lawsuit.

I make this declaration in support of plaintiffs’ Supplemental Brief re: Class Member Identification

and Damages. I have personal knowledge of the facts in this declaration unless otherwise noted.

       2.      There were several ways for people to purchase products from GAW Miners and

ZenMiner. First, investors could purchase products through the GAW Website. If somebody

purchased a product through the GAW website, GAW’s systems automatically emailed a receipt

documenting the purchase.

       3.      Alternatively, an investor could purchase products through ZenCloud or Paybase

with bitcoin. To do so, an investor first needed to “fund” his or her account with bitcoin. GAW

assigned each user a unique cryptocurrency wallet. The user would transfer bitcoin from a personal

wallet or outside cryptocurrency exchange to this unique GAW wallet. GAW would then “sweep”

bitcoin from the wallet and credit the user’s ZenCloud internal ledger account so that the user

could purchase securities.
                                                 1
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        4.      Starting in April 2015, I began to discuss filing a class action lawsuit against GAW

Miners with other investors. A preliminary website was launched to identify the level of

community interest in pursuing a lawsuit. Approximately 500 individuals expressed interest in the

lawsuit initially.

        5.      In the Fall of 2015, I created a follow-up website called Gawsuit.com. One of the

purposes of the website was to allow investors to upload documents relating to their purchases of

products from GAW Miners. Unfortunately, the amount of data (size) was limited by the service

we were using. One hundred and seventy-three individuals uploaded various supporting

documents through Gawsuit.com, which related to their purchases, other transactions and

subsequent losses.

        6.      Many of the individuals who submitted documents included printouts in an

electronic format identifiable by the extension “.csv”. These files are data that was exported from

their ZenCloud accounts with GAW. At the time I created the initial website for collecting

information, I had requested investors to download/export their ZenCloud and Paybase account

activities, preserving their account data, knowing that ZenCloud would be inaccessible at some

future date. When we began collecting documents from victims of GAW’s fraud, many of them

uploaded these .csv files.

        7.      Apart from the ZenCloud and Paybase data, I did not request investors to upload

specific types of supporting documentation. The uploaded information was never intended to be

exhaustive on the part of the responding investors, although it did identify various data sources

available to document investor losses.

        8.      Following the hearing on class certification in this case, I contacted several

attorneys and investigators involved in the federal case against Joshua Garza and asked what data



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sources they had used in that prosecution. On April 29, 2019 I received an email response from

Assistant U.S. Attorney John Pierpont who said, “[w]e verified through the zen cloud data and

other information we gathered during the course of our investigation. We also had victims submit

any and all supporting documentation they had in their possession.” A copy of Mr. Pierpont’s

email is attached as Exhibit 1.


       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge, information, and belief.


Dated: May 3, 2019




                                                 ______________________________________
                                                 Dean Allen Shinners




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